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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA

JACKSONVILLE DIVISION
IN RE:
John H. Brown, EI
and Catherine A. Brown Case No. 3:11-bk-06916-JAF

Debtor(s) /

TRUSTEE’S REPORT OF SALE COMPLETION

The Trustee, Robert Altman, files this Report of Sale pursuant to Rule 6004(f)(1) of the Federal
Rules of Bankruptcy Procedure.

1. Pursuant to Rule 6004(f)(1), the following property of the estate has been sold to Ronald L. Bergwerk:

Estate’s interest in in property situate in St. Croix, USVI, more particularly described as
follows:

Plot No. 155 Estate Mary’s Fancy, Queen Quarter, consisting of approximately 0.477 US
Acres, more or less, as more fully shown on OLG Drawing No. 2241, dated July 17, 1967,
as revised on March 10, 1993 for $2,000.00.

2. The sale did not require payments.

3 Notice and opportunity for a hearing had previously been given pursuant to §363(b) of the
Bankruptcy Code relative to this sale.

4. If applicable, the Debtor(s) may now contact their insurance company and have the Trustee removed
as an additional loss payee.

Dated: March 15, 2012

/S/ Robert Altman

Robert Altman, Trustee
Florida Bar No. 346861
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Copy furnished to:

John H. Brown, II and Catherine A. Brown
